                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Criminal Action No.
         v.
                                                1:19-CR-297-ELR-JSA
   T ODD C HRISLEY ( A / K / A M ICHAEL
   T ODD C HRISLEY ) AND
   J ULIE C HRISLEY


              Government’s Sentencing Memorandum Regarding
                Defendants Todd Chrisley and Julie Chrisley

   The United States of America, by Ryan K. Buchanan, United States Attorney,
and Thomas J. Krepp and Annalise K. Peters, Assistant United States Attorneys

for the Northern District of Georgia, files this Government’s Sentencing
Memorandum Regarding Defendants Todd and Julie Chrisley.

                               I. BACKGROUND

   1. Procedural History

   In 2019, defendants Todd Chrisley, Julie Chrisley, and Peter Tarantino were
indicted by a federal grand jury for a variety of crimes. (Doc 1). The grand jury
returned a superseding indictment in February 2022. (Doc. 130). During the
three-week trial in May and June 2022, the United States presented evidence of
the Chrisleys’ conspiracy to obtain tens of millions of dollars in loans by
defrauding community banks, which they later walked away from when Todd
declared bankruptcy. The jury also heard how, despite earning over $6 million



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through their entertainment ventures, they evaded paying Todd’s 2009
delinquent taxes and failed to timely file their tax returns for 2013, 2014, 2015, or
2016 (or make any timely payments for those years). Finally, the jury heard how
the Chrisleys attempted to obstruct the grand jury investigating their criminal
conduct. The Chrisleys’ defense at trial was to blame others for all their crimes,
including their co-conspirator, Mark Braddock, their former employees Alina
Clerie and Donna Cash, the Internal Revenue Service, the Federal Bureau of
Investigation, their accountants, their lawyers, and Bank of America. The

defendants were convicted of all charges. Sentencing is set for November 21,
2022.

   2. The Presentence Investigation Reports

   U.S. Probation has prepared Presentence Investigation Reports (PSRs) for
both Todd and Julie Chrisley (hereinafter T.C. PSR; J.C. PSR). As a threshold
matter, the United States believes that there is an evidentiary basis for each of the

enhancements enumerated by U.S. Probation. However, based in part upon
additional records supplied by the Chrisleys when filing their objections, the
United States has elected to take a conservative approach to certain

enhancements.1



   1 Accordingly, the United States is not recommending applying the following
enhancements listed in the initial PSRs, all of which relate to the bank fraud
offense: (1) a 22-level enhancement for the loss amount (the United States is
seeking a 20-level enhancement); (2) a two-level enhancement for number of
victims; and (3) a sophisticated means enhancement for Julie Chrisley.


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   Accordingly, the United States respectfully requests that the Court make the
following Guideline calculations:
                                    Todd Chrisley
           BANK FRAUD

           B1.1(a)(1)
                               base offense level                7
                               loss amount between $9.5M and
           2B1.1(b)(1)(K)      $25M                             20
           2B1.1(b)(2)(A)(i)   bankruptcy misrepresentation      2
           2B1.1(b)(9)(B)      sophisticated means              2
                               derived >$1M in gross receipts
                               from one or more financial
           2B1.1(b)(10)(C)     institutions                     2
           3B1.1(b)            aggravating role                 2
           3C1.1               obstruction                      2
           TOTAL                                                37

           TAX CONSPIRACY
           2T1.1               base offense level               20
           2T1.1(b)(2)         sophisticated means              2
           3C1.1               obstruction                       2
           TOTAL                                                24

           TAX EVASION
           2T1.1               base offense level               20
           2T1.1(b)(2)         sophisticated means              2
           3C1.1               obstruction                       2
           TOTAL                                                24



                                    Julie Chrisley
           BANK FRAUD
           2B1.1(a)(1)         base offense level                7
                               loss amount between $9.5M and
           2B1.1(b)(1)(K)      $25M                             20




                                          3
                                derived >$1M in gross receipts
                                from one or more financial
            2B1.1(b)(10)(C)     institutions                          2
            3C1.1               obstruction                           2
            TOTAL                                                    31

            TAX CONSPIRACY
            2T1.1          base offense level                        20
            2T1.1(b)(2)    sophisticated means                        2
            3C1.1          obstruction                                2
            TOTAL                                                    24

            TAX EVASION
            2T1.1               base offense level                   20
            2T1.1(b)(2)         sophisticated means                   2
            3C1.1               obstruction                           2
            TOTAL                                                    24

Both defendants are in Criminal History Category I. Under these Guidelines
calculations, the final offense levels and sentencing ranges follow:
        Todd Chrisley -      Offense Level 37 (210- 262 months)
        Julie Chrisley -     Offense Level 32 (121 - 151 months)2
   The Chrisleys have objected to nearly everything in their PSRs. Most of their
objections are attempts to re-interpret the evidence from trial and re-argue that
the testimony and evidence from their witnesses should be credited, despite the
jury’s unanimous verdict. “The problem with the argument is that the jury was
free to disregard the testimony (as it obviously did) and, instead, to credit the
contrary evidence presented by the Government’s witnesses.” United States v.
Maxwell, 579 F.3d 1282, 1301 (11th Cir. 2009) (citation omitted). “When a


   2For Julie Chrisley, the adjusted tax offense level (24) is seven levels lower
than the bank fraud Guidelines (31), resulting in a one-level upward adjustment
pursuant to § 3D1.4.


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defendant objects to a factual finding that is used in calculating his guideline
sentence . . . the government bears the burden of establishing the disputed fact
by a preponderance of the evidence.” United States v. Moriarty, 429 F.3d 1012,
1022 (11th Cir. 2005) (citing United States v. Rodriguez, 398 F.3d 1291, 1296 (11th
Cir. 2005)). To the extent the defendants object to facts in their PSRs that would
support their guidelines enhancements, the United States relies on the trial
transcript, the exhibits admitted at trial, and its anticipated evidence at
sentencing, all of which is described below.

               II. SENTENCING GUIDELINES ARGUMENT

   1. Todd and Julie Chrisley should receive a 20-level adjustment because
      the actual loss was more than $9.5 million but less than $25 million.

   The Chrisleys engaged in a lengthy conspiracy to defraud community banks
out of tens of millions of dollars. A reasonable estimate of the actual loss based
on the evidence in this case is approximately $20 million, resulting in a 20-level
enhancement under § 2B1.1(b)(1)(K). This estimate gives the Chrisleys the benefit
of the “credits against losses” they claim to be entitled to and is supported by
reliable and specific evidence.

      A. The Eleventh Circuit requires a reasonable estimate of loss based
         upon reliable and specific evidence given the available information.

   The Guidelines provide that “loss is the greater of actual loss or intended
loss.” United States v. Barrington, 648 F.3d 1178, 1197 (11th Cir. 2011) (citing
U.S.S.G. § 2B1.1. cmt. n.3(A)). “Actual loss” is defined as ”the reasonably
foreseeable pecuniary loss that resulted from the offense,” and “intended loss” is
defined as “the pecuniary harm that was intended to result from the offense”


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even if “impossible or unlikely to occur.” United States v. Bradley, 644 F.3d 1213,
1289 (11th Cir. 2011) (citing U.S.S.G. § 2B1.1, cmt. n.2(A)(i), (ii)). The Sentencing
Guidelines provide for a credit against loss in certain situations. First, the loss
must be reduced by “[t]he money returned, and the fair market value of the
property returned and the services rendered, by the defendant or other persons
acting jointly with the defendant, to the victim before the offense was detected.”
United States v. Armas, 712 F. App’x 923, 928 (11th Cir. 2017) (citing § 2B1.1, cmt.
n.3(E)(i))). Additionally, “[i]n a case involving collateral pledged or otherwise
provided by the defendant,” the loss amount shall be reduced by “the amount
the victim has recovered at the time of sentencing from disposition of the
collateral.” U.S.S.G. § 2B1.1, cmt. n.3(E)(ii); see United States v. Pouparina, 577 F.
App’x 939, 941 (11th Cir. 2014).
   “For sentencing purposes, the loss amount does not need to be precise and
may only be a reasonable estimate of the loss based on the available
information.” United States v. Ford, 784 F.3d 1386, 1396 (11th Cir. 2015) (citation
omitted). “A reasonable estimate of the loss amount is appropriate because often
the amount of loss caused by fraud is difficult to determine accurately.” United
States v. Cobb, 842 F.3d 1213, 1219 (11th Cir. 2016) (quoting United States v.
Medina, 485 F.3d 1291, 1304 (11th Cir. 2007)). While the Court must support its
loss calculation with “reliable and specific evidence,” that requirement “does not
demand that the Government and the court sift through years of bank records
and receipts to ascertain itemized proof of every single transaction that should be
chalked up as a loss to the victim.” United States v. Campbell, 765 F.3d 1291, 1304
(11th Cir. 2014); see also United States v. Orton, 73 F.3d 331, 334-35 (11th Cir. 1996)
(“an exhaustive inquiry is not required in every case” involving a complicated


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fraudulent scheme in which the loss is difficult to calculate). And the Eleventh
Circuit has consistently held that “where a defendant’s conduct was permeated
with fraud, a district court does not err by treating the amount that was
transferred from the victim to the fraudulent enterprise as the starting point for
calculating the victim’s pecuniary harm.” Armas, 712 F. App’x at 928 (quoting
Campbell, 765 F.3d at 1305).
   “In calculating the amount of loss attributable to a defendant, a district court
may rely on ‘trial evidence, undisputed statements in the presentence report, or
evidence presented at the sentencing hearing.’” United States v. Pierre, 825 F.3d
1183, 1197 (11th Cir. 2016). It “may [also] consider any explicit agreement or
implicit agreement fairly inferred from the conduct of the defendant and others.”
United States v. Petrie, 302 F.3d 1280, 1290 (11th Cir. 2002). “Once a district court
makes individualized findings concerning the scope of criminal activity
undertaken by a particular participant, it can determine foreseeability.” Pierre,
825 F.3d at 1197.

      B. Investigators used “reliable and specific evidence” to arrive at an
         actual loss estimate of approximately $20 million.

   The United States demonstrated at trial that the Chrisleys engaged in a
lengthy conspiracy to obtain tens of millions of dollars in fraudulent loans from
community banks. The conspirators’ false statements to banks typically
contained a personal financial statement (PFS) falsely claiming that Todd
Chrisley had $4 million at Merrill Lynch, fabricated or “scrapbooked” banking
statements, or false tax returns. (See, e.g., Gov. Exs. 808-810) (compilations of




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examples of false statements sent to banks).3 Once the conspirators obtained
those loans, the money was used to either pay back old loans or to fund the
Chrisleys’ lavish lifestyle.
   Before and after trial, the United States thoroughly analyzed the available
records to calculate a reasonable estimate of actual loss. These records included
more than 60,000 emails and documents from Mark Braddock (Tr. at 1853),
records obtained from multiple email search warrants, and financial records
from dozens of grand jury subpoenas and from Todd Chrisley’s bankruptcy
action. Investigators also interviewed bankers and other individuals with
knowledge of these loans. (See generally Tr. at 2202-07).
   While the Chrisleys object to the PSRs’ loss calculations as speculative, it
should be undisputed that the starting point is the total amount of money that
the Chrisleys obtained as a result of their fraudulent submissions to banks. FBI
Special Agent Ryskoski testified at trial that the conspirators’ fraud scheme
resulted in banks either issuing or renewing 29 fraudulent loans amounting to
$36,261,695. (Tr. at 1202-06; Gov. Ex. 1220).4 Agent Ryskoski has prepared a more



   3Citations to exhibits admitted during trial are listed as “Gov. Ex.” or “Def.
Ex.” New exhibits are listed as “Sent. Ex.” The United States will make a binder
available to the Court of all exhibits cited in this Memorandum.
   4 This number does not include the dozens of fraudulent loan applications
that the Chrisleys and Braddock submitted to banks that were never funded. For
instance, Government Exhibit 808 is a compilation exhibit of dozens of
fraudulent applications the Chrisleys and Braddock submitted to banks that
contained the personal financial statement falsely claiming Todd Chrisley had
approximately $4 million at Merrill Lynch. Because many of these loan
applications were not funded, the United States has not included the sought-after
loans under a more expansive “intended loss” theory even though the Eleventh

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detailed version of Government Exhibit 1220 to more thoroughly explain this $36
million starting figure. (Sent. Ex. 1). The issuance or renewal of all 29 loans listed
in Government Exhibit 1220 and Sentencing Exhibit 1 were directly and
proximately caused by the defendants’ false statements to the lenders.
Accordingly, under binding Eleventh Circuit authority, the starting point for the
Court’s analysis should be $36,261,695.460. See Armas, 712 F. App’x at 928-29.
   Following the jury’s verdict, investigators contacted the victim banks and the
FDIC—which is now the receiver for several banks that later failed—to
determine how much money the banks actually lost. In doing so, investigators
accounted for all known principal payments made by the conspirators after the
loans were issued and how much money the victim banks have been paid back.
The victim banks and the FDIC subsequently provided their actual loss
calculations. (Sent. Ex. 2) (emails and records from banks and the FDIC regarding
actual loss).
   The Chrisleys filed objections to the initial loss calculations claiming, in part,
that the loss figures were flawed because they failed to account for certain credits
against losses under § 2B1.1, cmt. n.3(E). In support of their argument, the
Chrisleys produced some records showing payments to lenders or third parties
that had acquired the fraudulent loans. To simplify what could be a convoluted
matter, Agent Ryskoski took the figures provided by the Chrisleys and deducted
those amounts from the loss amount. (Sent. Ex. 3 at 1). The resulting actual loss
figure is $20,041,817.67, resulting in a 20-level enhancement under



Circuit permits such a theory. United States v. Greene, 279 F. App’x 902, 908 (11th
Cir. 2008).



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§ 2B1.1(b)(1)(K) (20-level enhancement applies for losses between $9.5 million
and $25 million). In other words, by using the figures supplied by the Chrisleys,
they receive a 20-level enhancement instead of a 22-level enhancement as stated
in their initial PSRs. For several of these “credits,” the United States has taken the
Chrisleys at their word that payments were made and has not been able to find
independent evidence corroborating their figures. For instance, they claim
without supporting documentation that an entity named “FH Partners” was paid
$2.7 million for one of the fraudulently obtained loans. (T.C. PSR, ¶ 37). Agent
Ryskoski deducted $2.7 million to avoid a protracted argument on these points.
The revised actual loss figure is conservative and should be non-controversial as
it is based upon “reliable and specific evidence.” See Campbell, 765 F.3d at 1304.
   Notably, the revised actual loss estimate corroborates the evidence offered
during the Chrisleys’ cases-in-chief. Their own corporate attorney, Robert Furr,
testified that Todd owed $20 million to banks, which was discharged in
bankruptcy. (Tr. at 3070-71). The defendants seek to muddy the water by
claiming that the loss figures are “speculative” and make convoluted “but for”
causation arguments that are difficult to follow. (See, e.g. T.C. PSR, ¶ 37) The
Court need not overcomplicate the actual loss calculation: But for the
conspirators’ false loan applications, the victim banks would not have issued the
loans. It does not matter that the banks later failed or sold the loans to third
parties. Nor does it matter that the Chrisleys “believe” (without offering proof or
estimated figures) that third parties may have paid additional sums of money
when purchasing these loans. The United States has offered “reliable and specific
evidence” that the actual loss amount is approximately $20 million, which is over




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double the floor amount of the applicable enhancement. See U.S.S.G.
§ 2B1.1(b)(1)(K) ($9.5 million to $25 million).
   It bears emphasis that the fraud scheme occurred from 2007 to 2012 and
targeted many community banks that have since shuttered. Agent Ryskoski
testified during trial about the difficulties investigators encountered when trying
to piece together loan documents from failed banks. (Tr. at 2201-02). The
Chrisleys seize on that fact and argue that the loss calculation is unsubstantiated.
(See T.C. PSR, ¶ 37). But, as stated, the Eleventh Circuit does not require the
sentencing court or the United States to “sift through years of bank records and
receipts to ascertain itemized proof of every single transaction that should be
chalked up as a loss to the victim.” Campbell, 765 F.3d at 1304. To the contrary,
“the loss amount does not need to be precise and may only be a reasonable
estimate of the loss based on the available information.” Ford, 784 F.3d at 1396
(citation omitted) (emphasis added). The United States has thoroughly analyzed
the available records from banks that collapsed over a decade ago and has
offered reliable and specific evidence, which takes into account the credits
against losses that the Chrisleys list in their objections. (Sent. Exs. 1, 2, 3). Based
upon this rigorous analysis that gives the Chrisleys every known benefit of the
doubt, the Court should find that the loss amount is more than $9.5 million but
less than $25 million, resulting in a 20-level enhancement under Section
2B1.1(b)(1)(K).




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      C. Because the jury found that the Chrisleys acted with the intent to
         defraud, the Court should reject their arguments that the loss amount
         is zero.

   Citing the Eleventh Circuit’s recent per curium decision in United States v.
Ridling, 2022 WL 4134423 (11th Cir. Sept 13, 2022), the Chrisleys claim that the
loss amount is zero dollars because they intended to repay the banks. (See, e.g.,
T.C. PSR, ¶ 37). This case is nothing like Ridling. In Ridling, the Eleventh Circuit
vacated a sentence where the district court had erroneously calculated the
“intended loss” amount using a recklessness standard instead of a purposeful
standard. But here, the $20 million figure is the actual loss to victim banks—not
the intended loss. Moreover, the Chrisleys’ actions show they had no intent to
repay as they kept rolling new fraud loans to pay off old ones and eventually
sought to extinguish the unpaid debt in bankruptcy. Where the United States has
produced “reliable and specific evidence” that banks suffered approximately $20
million in losses, the Court should reject the Chrisleys’ specious arguments that
the loss amount is actually zero dollars.

      D. Julie Chrisley should be held accountable for the total loss amount as
         she willfully participated in the conspiracy from its inception.

   Repeating her arguments from trial, Julie Chrisley claims there is no evidence
she was ever part of the bank fraud conspiracy and thus no loss attributable to
her. Her argument is meritless and ignores the weight of the evidence showing
her involvement in the fraud scheme.
   Under § 1B1.3, “in the case of a jointly undertaken criminal activity,” the
defendant is liable for “all acts and omissions of others that were— (i) within the



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scope of the jointly undertaken criminal activity, (ii) in furtherance of that
criminal activity, and (iii) reasonably foreseeable in connection with that criminal
activity; that occurred during the commission of the offense of conviction, in
preparation for that offense, or in the course of attempting to avoid detection or
responsibility for that offense.” U.S.S.G. § 1B1.3(a)(B). There is ample evidence
demonstrating that Julie Chrisley was involved in the bank fraud scheme from
its inception and, as an active member of the conspiracy, all the losses was
“reasonably foreseeable” to her. See United States v. Shade, 513 F. App’x 921, 923

(11th Cir. 2013).
   As an initial matter, Julie Chrisley was convicted of bank fraud conspiracy
and five substantive counts of bank fraud. Braddock testified that Julie was an

active member of the conspiracy from its inception:

    Q: Can you tell me, did you commit fraud from 2007 onward just on
     your own? In other words, was it just you committing fraud?
    A: No. Mr. and Mrs. Chrisley and myself were all three involved.

(Tr. at 1468). Braddock testified that he had conversations about cutting and
pasting (or “scrapbooking”) bank statements with Julie Chrisley, and that Julie
complimented Braddock on his scrapbooking, noting that she had never been
able to get her scrapbooked documents to “line up.” (Id.). Julie Chrisley was also
well aware of the sheer volume of loans that the conspirators were taking out.
Throughout the conspiracy, Julie drove around metro Atlanta dropping off past-
due loan payments, earning herself the nickname “asses on fire.” (Tr. at 1539).




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   The evidence of Julie Chrisley’s knowing participation in the bank fraud
scheme wasn’t limited to Braddock’s testimony. Numerous emails and records
admitted during trial confirm her involvement from the scheme’s inception. (See,
e.g., Sent. Ex. 4 at 1, 8; Gov. Exs. 809, 810, 824, 890). Additionally, the fact that
Julie Chrisley benefited from the fraudulent loan scheme throughout its existence
is further confirmation that the loss was reasonably foreseeable for her. In fact,
two of the fraudulent loans were issued to Julie’s own company, Select Real
Estate Holdings. (Gov. Ex. 1220). All the while that Julie Chrisley drove around

Atlanta paying past-due loans and bills, she was profiting off the fraudulently
obtained loans. For instance, the conspirators deposited a fraudulent loan in the
amount of $231,832.84 into a CAM account on April 24, 2007. (Gov. Ex. 1223).

That same day, $35,000 was transferred to a bank account under the control of
both Julie and her husband. Similarly, on May 11, 2007, the conspirators
deposited $986,456.02 into the CAM account. (Gov. Ex. 1224). By May 25th,

$43,000 had been transferred to a bank account under the control of both Julie
and her husband. (Id.). And from May 11th through May 31st, both Todd and
Julie bled through the fraudulently obtained loan proceeds by not just paying
back older loans but paying for household expenses, such as maintenance on
pools at their various properties or cosmetic work for their children. (Id.). By May
31st, only $217,407.43 was left in the account. (Id.). In sum, the evidence shows

that Julie was involved in and profited from the bank fraud scheme throughout
the conspiracy.




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   Julie Chrisley’s claim that the Court should not credit over the United States’
evidence from trial is just another attempt to relitigate the case. See Maxwell, 579
F.3d at 1301. The jury’s unanimous verdict against Julie Chrisley confirms that
the jury credited Braddock’s testimony and the financial records and email
evidence.
   While Todd was the ringleader, Julie played an active role in every aspect of
the conspiracy. It is immaterial to the loss calculation whether she was involved
in or had actual knowledge of each and every fraudulent loan application. United

States v. Danzey, 842 F. App’x 413, 417-18 (11th Cir. 2021) (rejecting argument that
a defendant who had been involved in a stolen identities conspiracy and used
those identities to commit a certain fraud should not be held accountable for

losses stemming from a different fraud in which he was not involved because it
was reasonably foreseeable that the stolen identities might be used for different
types of fraud). As the Eleventh Circuit has repeatedly held, “members of a

criminal conspiracy need not be involved in—or even aware of—losses inflicted
by other members of the conspiracy for those losses to be reasonably
foreseeable.” Id. at 417 (citing United States v. Mateos, 623 F.3d 1350, 1371 (11th
Cir. 2010)); see also United States v. Hall, 996 F.2d 284, 285-86 (11th Cir. 1993). The
Court should reject her efforts to relitigate her failed trial arguments and hold
her accountable for the entirety of the fraudulent funds that she and her husband

obtained during the course of their conspiracy.




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   2. Todd Chrisley should receive an enhancement because the bank fraud
      scheme involved a misrepresentation or other fraudulent action during
      the course of a bankruptcy proceeding.

   Where a bank fraud offense involves a “misrepresentation or other fraudulent
action during the course of a bankruptcy proceeding,” a two-point sentencing
enhancement is warranted. U.S.S.G. § 2B1.1(b)(9)(B). It is irrelevant whether the
defendant was charged with bankruptcy fraud or some other fraud scheme. See,
e.g., United States v. Boyle, 723 F. App’x 111, 113 (3rd Cir. 2018) (applying the two-
level enhancement in a non-bankruptcy fraud case and noting that “the

enhancement would be nonsensical if it only applied to bankruptcy fraud”); see
also, e.g., United States v. Grant, 320 F. App’x 898, 904 (11th Cir. 2008) (affirming
enhancement application where defendant was not charged with bankruptcy
fraud); United States v. Coyle, 154 F. App’x 173, 175 (11th Cir. 2005) (same); United
States v. Simpson, 796 F.3d 548, 551, 555–56 (5th Cir. 2015) (same).
   Moreover, “[t]he filing of [a] bankruptcy petition after the fraud scheme

end[s] [does] not . . . preclude[] the trial court from imposing the enhancement.”
Boyle, 723 F. App’x at 113. “In applying the sentencing guidelines, the trial court
is to consider the defendant’s relative culpability based on all relevant conduct….

Conduct that occurs ‘in the course of attempting to avoid detection or
responsibility for that offense’ is relevant conduct to be considered when
applying the sentencing guidelines. U.S.S.G. § 1B1.3(a).” Id. In Boyle, the Third
Circuit concluded that “the timing of the bankruptcy petition [was] immaterial
[because] the record demonstrates Boyle’s misrepresentations to the bankruptcy
court were an attempt to evade detection of his fraudulent scheme.” Id. Similarly,


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in United States v. Tanke, the Ninth Circuit held that a defendant’s “false
testimony in the bankruptcy proceeding may not have occurred in preparation
for or during the commission of the offense, but it plainly occurred ‘in the course
of attempting to avoid detection or responsibility for that offense.’” 743 F.3d
1296, 1306-07 (9th Cir. 2014) (quoting U.S.S.G. § 1B1.3(a)(1)).
   Here, Todd Chrisley’s PSR correctly includes a two-level enhancement
pursuant to § 2B1.1(b)(9)(B) because he acted fraudulently and made
misrepresentations during his Chapter 7 bankruptcy proceedings in an effort to

conceal his involvement in the crime and to keep his ill-gotten gains from the
fraud scheme. (T.C. PSR ¶¶ 122-26).
   At trial, the jury found the Chrisleys guilty of committing a bank fraud

scheme that lasted until approximately 2012, during which they obtained tens of
millions of dollars in fraudulent loans. (Tr. at 1471-74, 1482-83, 1518-20, 1673-79).
The Chrisleys were using new loans to pay back old loans, and when the fraud

scheme eventually collapsed, Todd filed for bankruptcy, where over $20 million
of debt owed to defrauded banks was discharged. (Tr. at 1492-93; Sent. Ex. 5
(bankruptcy final accounting)). During the bankruptcy proceeding, Todd hid the
fact that the millions of dollars in loans that he was seeking to have wiped away
had been fraudulently obtained. That fraudulent bankruptcy action triggers the
two-level enhancement. See Tanke, 743 F.3d at 1307; Boyle, 723 F. App’x at 113.

   Todd Chrisley didn’t just “fail to disclose” his involvement in the fraud. He
made multiple material misrepresentations during the bankruptcy proceedings
to cover up his crimes. In July 2012, the Chrisleys began blaming Mark Braddock


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for the whole bank fraud scheme and their financial problems, and Todd touted
this lie during the bankruptcy action. During a July 16, 2013, bankruptcy
deposition, Todd was asked a series of questions about Braddock and falsely
stated under oath that he relied on “nothing” that Braddock said to him after
2010, when he “discovered” that Braddock was “doing things inappropriately.”
(Sent. Ex. 6 at 162-67) (deposition transcript)). Chrisley further falsely stated that
in 2010, “I confronted [Braddock] and he denied – he denied every allegation and
put – placed the blame on Donna Cash.” (Id. at 166). This was all a lie. The jury

found that Todd Chrisley was not only aware of the fraud, but was committing it
with Julie and Braddock. Braddock testified at length about Todd’s involvement,
and the jury saw numerous emails in which Todd was directing the conspiracy.

(See, e.g., Gov. Ex. 839) (When Braddock reported that he would have difficulty
scrapbooking because the bank had legitimate copies of the tax returns, Todd
responded, “stop telling me this shit, create them like you always have, if i don’t

get her these then want renew the loans.”); (Gov. Ex. 832, 833) (After receiving a
false PFS, Todd emailed Braddock “you are a fucking genious!!!! just make it
show 4 mil+”).
   Todd Chrisley also lied about the ownership structure of CAM during the
bankruptcy proceedings to protect the ill-gotten gains from committing bank
fraud and from draining every penny from CAM during the bank fraud scheme.5


   5 Todd Chrisley’s bankruptcy action was replete with lies, and the United
States focuses here only on the lies that relate to the bank fraud scheme. Notably,
he also lied about his involvement with 7C’s Productions, which he and Julie
used as a shell company to hide millions of dollars from the IRS. During the July

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As it became clear that Todd would have to file for bankruptcy, the Chrisleys
began backdating documents and forging notary dates falsely showing that Julie
Chrisley was a 60% owner of CAM. (Tr. 1464-65, 1596-98, 1609, 1842-43; Gov. Exs.
751, 873; Sent. Ex. 7 (emails about CAM ownership)). On multiple occasions
during the bankruptcy proceedings, Todd Chrisley lied about the ownership
structure of CAM, claiming that Julie Chrisley had always owned 60% of the
company, and he owned only 10% of CAM. (Sent. Ex. 6 at 145-49 (“It’s my
understanding that [Grimsley] has known from always that Julie had 60

percent.”); Sent. Ex. 8 at 13-14 (April 30, 2013 interview transcript) (“I own 10, my
wife Julie owns 60 percent, and Mark owns 30. That’s the way it was always
supposed to be.”)). In reality, Todd Chrisley owned 70% of CAM, and Julie

Chrisley was never an owner of the company. (See, e.g. Tr. at 1609).
   As Braddock testified, this had been Todd Chrisley’s plan all along: “And it
was beginning in 2012, he said he was going to plan a bankruptcy because that

was the only way out.” (Tr. at 1600). Braddock also explained why they
backdated sham documents claiming that Julie owned 60% of CAM: so that Todd
Chrisley could protect all of his ill-gotten gains from creditors during


16, 2013, deposition, Todd played dumb about 7C’s Productions, claiming that
the entity was “just an LLC that was set up but was never used,” that he had no
involvement in the company, and that he had no knowledge of money going to a
7C’s bank account at Chase. (Sent. Ex. 6 at 134-35). But emails from the few
weeks before that deposition show that Todd was well aware of and involved in
the formation of 7C’s Productions, Inc. and that he sent and received emails
about the new 7C’s Chase bank account. (See, e.g., Sent. Ex. 9) (email compilation
about 7C’s).


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bankruptcy. (Tr. at 1602) (“So he -- if he was planning bankruptcy, he couldn’t
have assets in his name, so he needed to shift his assets to his wife’s name or to
Mrs. Chrisley before bankruptcy.”).
   In short, Todd Chrisley filed a fraudulent bankruptcy action for the purpose
of discharging tens of millions of dollars of debt that he owed to community
banks from fraudulently obtained loans. And, like the defendants in Boyle and
Tanke, Todd made false statements during the bankruptcy proceedings in an
attempt to conceal his and his wife’s crimes and blame Braddock, who had

helped them commit fraud. Boyle, 723 F. App’x at 113; Tanke, 743 F.3d at 1307.
Accordingly, Todd’s objection that the enhancement should not apply because
“all bank loans predated the bankruptcy filing in 2012” is meritless. (T.C. PSR

Obj. at 9). Those fraudulent loans are the very reason Todd filed for bankruptcy
and lied during the proceedings. Boyle, 723 F. App’x at 113; Tanke, 743 F.3d at
1306–07. Todd Chrisley was already allowed once before to use the bankruptcy

system to duck responsibility for his involvement in the bank fraud scheme. He
should not be allowed to do so again by claiming that his bankruptcy action
occurred after his massive bank fraud scheme imploded.

   3. Todd Chrisley should receive an enhancement because the bank fraud
      scheme involved sophisticated means.

   The United States agrees with Todd Chrisley that the two-level sophisticated

means enhancement under U.S.S.G. 2B1.1(b)(10)(C) applies as “the offense
otherwise involved sophisticated means and the defendant intentionally engaged
in or caused the conduct constituting sophisticated means.”


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   The Guidelines commentary explains that the enhancement applies, among
other times, when there was “especially complex or especially intricate offense
conduct pertaining to the execution or concealment of an offense.” U.S.S.G.
§ 2B1.1, cmt. n.9(B). As an example, the commentary explains that, “in a
telemarketing scheme, locating the main office of the scheme in one jurisdiction
but locating soliciting operations in another jurisdiction ordinarily indicates
sophisticated means.” United States v. Feaster, 798 F.3d 1374, 1380 (11th Cir. 2015)
(quoting § 2B1.1(b)(10)(C), cmt. n.9(B)). “Regardless of whether the defendant

undertook affirmative acts of concealment, the scheme itself may be designed in
a sophisticated way that makes it unlikely to be detected, allowing it to continue
for an extended period and to impose larger losses.” United States v. Feaster, 798

F.3d 1374, 1381 (11th Cir. 2015).
   Todd Chrisley does not object to the application of this enhancement, nor
should he. The evidence at trial confirms that Todd Chrisley orchestrated and led

a six-year, $40 million bank fraud scheme, during which he directed the
repeated, calculated submission of false personal financial statements (PFSs),
false corporate audit reports, and false tax returns to numerous banks for the
purpose of obtaining tens of millions of dollars in secured and unsecured
business and personal lines of credit and mortgages. (Tr. 1471-74, 1482-83, 1518-
20, 1673-79). Multiple loans were issued to shell companies, such as Auto Express

LLC, LKC LLC, Michael Todd Design LLC, and the Chrisley Family Trust. (Gov.
Ex. 1220; Tr. 1530-31, 1575, 1593-95). Other loans were issued to Todd Chrisley’s
business, Chrisley Asset Management, to him personally, to Julie Chrisley’s


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business, Select RE Holdings LLC, and to supposed real estate ventures that
never went forward, such as Lot 46 Watersound and South Fulton Land
Investments. (Gov. Ex. 1220).
   In all, Todd Chrisley orchestrated, directed, and led a lengthy, extensive, and
sophisticated fraud scheme involving the use of numerous shell companies,
LLCs, and bank accounts, and he directed the preparation and submission of
multiple types of false financial documentation to banks, including corporate
audits, tax returns, and PFSs, often referring back to previously submitted false

documents to ensure that new false documents aligned with the previous lies.
Todd Chrisley should receive the two-level sophisticated means enhancement.
See, e.g., United States v. Dawson, 588 F. App’x 890, 893 (11th Cir. 2014) (affirming

sophisticated means enhancement where wire fraud took place over five-year
period, and defendant used managerial position and specialized knowledge to
commit fraud); United States v. Clarke, 562 F.3d 1158, 1166 (11th Cir. 2009)

(affirming a “sophisticated means” determination where the scheme “covered a
three-year period and required intricate planning”); United States v. Martin, 549 F.
App’x 888, 890 (11th Cir. 2013).

   4. Todd and Julie Chrisley should receive a two-level enhancement
      because they derived more than $1 million in gross receipts from one or
      more financial institutions.

   The initial PSRs for the Chrisleys included a four-level enhancement on the
basis that their bank fraud scheme “substantially jeopardized the safety and
soundness of a financial institution.” U.S.S.G. § 2B1.1(b)(17)(B). However, the



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United States is seeking the lesser, two-level enhancement pursuant to
§ 2B1.1(b)(17)(A), which applies where “the defendant derived more than
$1,000,000 in gross receipts from one or more financial institutions as a result of
the offense.” U.S.S.G. § 2B1.1(b)(17)(A). “Gross receipts from the offense” is
defined as “all property … which is obtained directly or indirectly as a result of
[the] offense.” Id. cmt. n.13(B).
   Any objection to this two-level enhancement would be meritless. As set forth
above, the Chrisleys received more than $1 million from at least seven banks in

the course of the bank fraud scheme. (Gov. Ex. 1220). Notably, this enhancement
concerns “gross receipts,” and Agent Ryskoski testified at trial that the
fraudulent loan applications caused banks to issue the conspirators over $36

million in fraudulent loans. (Tr. at 1202-06; Gov. Ex. 1220).

   5. Todd Chrisley should receive a two-level aggravating role enhancement.

   The United States agrees with Todd Chrisley that he should receive a two-
level aggravating role enhancement under U.S.S.G. § 3B1.1(c) as he was “an
organizer, leader, manager or supervisor” in any criminal activity that did not

involve five or more participants or was otherwise extensive. U.S.S.G. § 3B1.1(c).
The evidence at trial established that Todd Chrisley was an organizer, leader,
manager, or supervisor of the bank fraud scheme.6


   6 Notably, the initial PSR included a four-level role enhancement for Todd
Chrisley. There is an argument that he deserves the four-level enhancement since
the bank fraud scheme was so extensive and involved the unknowing services of
many outsiders. See United States v. Zada, 706 F. App’x 500, 509 (11th Cir. 2017)
(citing § 3B1.1 cmt. n.3) (“[A] fraud that involved only three participants but

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   Braddock testified that Todd Chrisley directed him on what to send banks,
(Tr. at 1483-84, 1525), which is corroborated by this sampling of emails admitted
at trial:

        In April 2007, Todd emailed Braddock, “these two are great but we
         need to find another 15,000 to make my numbers work, so do an
         invoice for the architect and you can tag it for revisions, TRY TO MAKE
         THIS HAPPEN TODAY SO THAT I DO NOT HAVE ANYTHING
         BOUNCING, Copy me on what you send Simone.” (Gov. Ex. 813).

        In another April 2007 email, Todd told Braddock, “[Y]ou can either tell
         him that they are from a land deal or you can say that they were
         transferred from WAMU and then create another bank statement.”
         (Gov. Ex. 816).

        After receiving a false PFS, Todd emailed Braddock, “you are a fucking
         genious!!!! just make it show 4 mil+” (Gov. Exs. 832, 833).

        In April 2008, when Braddock reported that he would have difficulty
         scrapbooking as the bank had legitimate copies of the tax returns, Todd
         stated, “stop telling me this shit, create them like you always have, if i
         don’t get her these then want renew the loans.” (Gov. Ex. 839).

        When one banker reached out about the outstanding loan payments,
         Todd directed Braddock to “deal with this bitch!!!!” (Gov. Ex. 840).

   Todd also repeatedly sent these types of directives to Julie as the bank fraud
scheme unfolded, including emails like this one:




used the unknowing services of many outsiders could be considered
extensive.’”). But the United States only seeks the two-level enhancement under
§ 3B1.1(c) (which Todd Chrisley appears to agree applies).

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    “[P]lease take care of getting her the new insurance information and Mark
     will get her the new pfs as well as getting her the new tax returns.” (Gov.
     Ex. 824) (October 15, 2007, email from Todd to Julie, CC’ing Braddock).
In his objections to the PSR, Todd Chrisley concedes that “two points at most

should be assessed for [his] role in the offense.” (T.C. PSR Obj. at 10). The United
States agrees that he should receive a two-level role enhancement.

   6. Julie Chrisley should not receive a mitigating role reduction.

   Contrary to her objections, Julie Chrisley is not entitled to a mitigating role
reduction under U.S.S.G. § 3B1.2. (J.C. PSR, ¶ 124). The mitigating role provision
permits a two-level reduction if the defendant was a “minor participant” or a
four-level reduction if the defendant was a “minimal participant.” U.S.S.G.
§ 3B1.1(a)-(b). “The defendant, as the proponent of the downward adjustment
under § 3B1.2, bears the burden of proving her mitigating role in the offense by a

preponderance of the evidence.” United States v. Martin, 803 F.3d 581, 591 (11th
Cir. 2015) (citation omitted).
   The commentary to § 3B1.2 provides an example of a situation where a fraud
defendant would be entitled to this reduction:

      [A] defendant who is accountable under § 1B1.3 for a loss amount
      under § 2B1.1 [] that greatly exceeds the defendant’s personal gain
      from a fraud offense or who had limited knowledge of the scope of
      the scheme may receive an adjustment under this guideline. For
      example, a defendant in a health care fraud scheme, whose
      participation in the scheme was limited to serving as a nominee
      owner and who received little personal gain relative to the loss
      amount, may receive an adjustment under this guideline.




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U.S.S.G. § 3B1.2, app. n.3(A). That is far from what occurred here. As outlined
above, Julie didn’t just receive a small portion of the fraud scheme. She and her
husband took home tens of millions of dollars from defrauding the banks, and
Braddock testified that Julie Chrisley was involved throughout the conspiracy.
   The Eleventh Circuit has repeatedly held that defendants like Julie Chrisley
are not entitled to a minor or minimal role reduction simply by virtue of the fact
that others in the conspiracy played larger roles. See Martin, 803 F.3d at 591
(“Even if a defendant played a lesser role than the other participants, that fact

does not entitle her to a role reduction since it is possible that none are minor or
minimal participants.”) (quotation marks omitted); see also United States v.
Tabares, 2021 WL 5279404, at *9 (11th Cir. Nov. 12, 2021) (“While Quintero gave

Tabares direction, the record makes clear that Tabares’s actions were important
to the laundering. Tabares filed the incorporation documents for the shell
company, set up the bank account, and cashed the checks. Thus, even though

Quintero also participated in [money] laundering [], it does not follow that
Tabares played a minor role.”); United States v. Jones, 705 F. App’x 859, 861 (11th
Cir. 2017) (district court did not clearly err in declining to apply the reduction
where the defendant “understood the scope and structure of the criminal
activity” and “stood to benefit from the criminal activity”); United States v.
Rabuffo, 716 F. App’x 888, 905 (11th Cir. 2017) (district court did not err by

declining to apply adjustment when “everybody had a part here, and she played
an integral and essential part to the success of the scheme while it was ongoing.




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So to that extent, there is no—she’s hardly a damsel in distress. She was in for a
penny and for a pound.”).
   Julie Chrisley played an integral role in the bank fraud conspiracy and
significantly profited from the fraudulently obtained loans. She was “hardly a
damsel in distress” and is not entitled to the mitigating role reduction. Id.

   7. Todd and Julie Chrisley should receive an enhancement for using
      sophisticated means to commit the tax offenses.

   For tax-related offenses, a two-level enhancement applies where the offense
involved sophisticated means. U.S.S.G. § 2T1.1(b)(2). Under the Guidelines,

“sophisticated means” includes

   especially complex or especially intricate offense conduct pertaining to
   the execution or concealment of an offense. Conduct such as hiding
   assets or transactions, or both, through the use of fictitious entities,
   corporate shells, or offshore financial accounts ordinarily indicates
   sophisticated means.
U.S.S.G. § 2T1.1, cmt. n.5. The Guidelines further provide that, “[a]lthough tax

offenses always involve some planning, unusually sophisticated efforts to
conceal the offense decrease the likelihood of detection and therefore warrant an
additional sanction for deterrence purposes.” Id., cmt. (backg’d).7


   7Between 1998 and 2001, the language for this enhancement was changed
from “sophisticated means” to “sophisticated concealment” as part of a separate
Sentencing Commission effort to clarify that the enhancement broadly applies
with respect to overall offense conduct; the language in § 2T1.1 reverted back to
“means” in 2001 to clarify that the enhancement applies to the execution of the
offense as well as its concealment. See U.S.S.G. App. C, Amend. 617, Reason for
Amend; U.S.S.G. App. C. Amends. 219-223, Reason for Amends.


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   Merely making misrepresentations on a tax return likely does not justify an
enhancement for sophisticated means. See, e.g., United States v. Powell, 124 F.3d
655, 666 (5th Cir. 1997); United States v. Rice, 52 F.3d 843, 849 (10th Cir. 1995)
(enhancement inapplicable because defendant only claimed that he had paid
taxes which he had not); see also United States v. Stokes, 998 F.2d 279, 282 (5th Cir.
1993) (“There is nothing sophisticated about simply not disclosing income to
your accountant”).
   On the other hand, the “essence” of sophisticated conduct “is merely

deliberate steps taken to make the offense … difficult to detect.” United States v.
Kontny, 238 F.3d 815, 821 (7th Cir. 2001). And while it is apparent that some
degree of concealment is inherent in every tax fraud case, “‘sophistication’ [in the

Guideline does not refer] to the elegance, the ‘class,’ the ‘style’ of the defrauder –
the degree to which he approximates Cary Grant – but to the presence of efforts
at concealment that go beyond … the concealment inherent in tax fraud.” Id. The

enhancement “does not require a brilliant scheme, just one that displays a greater
level of planning or concealment than the usual tax evasion case.” United States v.
O’Doherty, 643 F.3d 209, 220 (7th Cir. 2011). Even if certain acts would not
constitute sophisticated means when considered in isolation, such acts may
constitute sophisticated means when viewed in the aggregate. United States v.
Tandon, 111 F.3d 482, 491 (6th Cir. 1997) (taken together, defendant’s actions

demonstrated “a sophisticated and multi-pronged effort to deceive the IRS and
evade paying taxes”); see also United States v. Ghaddar, 678 F.3d 600, 602-03 (7th
Cir. 2012) (defendant’s actions “when viewed as a whole constituted a


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sophisticated scheme”). The fact that a defendant could have used “even more
elaborate mechanisms to conceal” the fraud does not defeat a finding of
sophisticated means. United States v. Bickart, 825 F3d. 832, 837 (7th Cir. 2016).
“Even if any single step is not complicated, repetitive and coordinated conduct
can amount to a sophisticated scheme.” United States v. Laws, 819 F.3d 388, 393
(8th Cir. 2016). The Guideline commentary “provides a nonexclusive list of
examples of sophisticated means of concealment,” and the use of offshore bank
accounts and fictitious business entities is not necessary to constitute

sophisticated means. United States v. Campbell, 491 F.3d 1306, 1315-16 (11th Cir.
2007).
   Here, the Chrisleys should both receive a two-level enhancement pursuant to

§ 2T1.1(b)(2) because their tax conspiracy and tax evasion scheme involved
sophisticated means. (J.C. PSR ¶¶ 136, 141; T.C. PSR ¶¶ 134, 139). The Chrisleys
earned millions of dollars from 2013 through 2017 from Chrisley Knows Best and

other media ventures that they directed into bank accounts for 7C’s Productions.
(Tr. at 1047-52; Ex. 1202). They used 7C’s as a shell company by keeping Todd
Chrisley’s name off of the company and its bank accounts in an effort to shelter
their income from the IRS to evade paying hundreds of thousands of dollars of
delinquent taxes that Todd owed for the 2009 tax year, as well as to evade paying
taxes for 2014, 2015, and 2016. (Tr. at 828-833, 1053). When the Chrisleys learned

that the IRS was looking for their bank accounts, they took immediate steps to
distance themselves from 7C’s and further shelter their income. One day after the
defendants were notified that the IRS was looking into accounts controlled by


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Julie, Julie transferred ownership of the 7C’s corporate bank account to Todd’s
mother, Faye Chrisley, and opened a new account only in Faye Chrisley’s name.
(Tr. at 477-523, 540-46; Gov. Exs. 100, 101, 102A, 103, 103A, 103B, 104, 104A, 105).
To effectuate those changes, Julie provided false documents to Bank of America,
showing that Faye was the sole owner of 7C’s, despite the fact that she had never
owned the company and had no involvement in it. After the Chrisleys opened
the new 7C’s bank account in Faye’s name, the Chrisleys directed their income
into that new account. (Gov. Ex. 107A). Moreover, at the Chrisleys’ direction,

Peter Tarantino sent tax returns to banks and other third parties that in reality
had never been filed with the IRS. (Tr. at 645-49; Gov. Exs. 500, 507, 509, 510, 514).
   Numerous courts have found that actions like the Chrisleys’ warrant the

sophisticated means enhancement. For instance, it has been applied where the
defendant used a shell company or deposited funds into a bank account not
directly attributable to the defendant, just as the Chrisleys used 7C’s Productions.

See, e.g., United States v. Paradies, 98 F.3d 1266, 1292 (11th Cir. 1996) (affirming
enhancement where defendant used shell corporation to hide funds); Campbell,
491 F.3d at 1315-16 (affirming enhancement where defendant deposited funds
into bank accounts not directly attributable to him); United States v. Barakat, 130
F.3d 1448, 1457 (11th Cir. 1997) (agreeing that the defendant’s practice of filtering
funds through his attorney’s trust account constituted a sophisticated means of

concealing tax evasion). Similarly, the creation and use of false documents like
the ones Julie provided to Bank of America (falsely stating that Faye Chrisley
owned 7C’s) and to third parties (tax returns that were never filed) has also been


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found to warrant the sophisticated means enhancement. See, e.g., United States v.
Lundberg, 990 F.3d 1087, 1097 (7th Cir. 2021) (affirming application of
enhancement where defendant doctored a third party’s tax forms to support a
lease application); United States v. Melton, 870 F.3d 830, 843 (8th Cir. 2017)
(affirming application of enhancement where defendant wrote a memo falsely
stating that “he was working with the IRS, and then presenting doctored IRS
Forms [] alleging he had paid [] taxes”); see also United States v. Ghertler, 605 F.3d
1256, 1268 (11th Cir. 2010) (creation of false documents and the use of third

parties for money transfers may constitute sophisticated means under § 2B1.1).
   In all, Todd and Julie Chrisley took a protracted and calculated series of steps
to hide their money from the IRS for years using a shell company and bank

accounts that they distanced from Todd Chrisley, and when the IRS dug deeper,
they fabricated documents and changed and opened new bank accounts in a
third party’s name, all to further evade the IRS’s reach. “The totality of the[

Chrisleys’] activities carried out over an extended period of time” warrants the
sophisticated means enhancement. Ghertler, 605 F.3d 1256, 1267-68 (11th Cir.
2010).

   8. Todd and Julie Chrisley should receive an obstruction enhancement for
      the bank fraud scheme and the tax offenses.

   Pursuant to § 3C1.1, a two-level enhancement applies if “(1) the defendant

willfully obstructed or impeded, or attempted to obstruct or impede, the
administration of justice with respect to the investigation, prosecution, or
sentencing of the instant offense of conviction, and (2) the obstructive conduct


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related to (A) the defendant’s offense of conviction and any relevant conduct; or
(B) a closely related offense.” U.S.S.G. § 3C1.1. The commentary provides a non-
exhaustive list of examples of the types of conduct to which this adjustment
applies, including the following:

       threatening, intimidating, or otherwise unlawfully influencing a
        … witness, … directly or indirectly, or attempting to do so;

       committing, suborning, or attempting to suborn perjury…; [and]

       producing or attempting to produce a false, altered, or counterfeit
        document or record during an official investigation or judicial
        proceeding.
U.S.S.G. § 3C1.1, cmt. n.4(A)-(C). In this case, the Chrisleys committed all three
forms of obstruction, warranting an obstruction enhancement for the bank fraud
and tax offenses.

      a. Todd and Julie Chrisley submitted a sham document to the grand
         jury in response to a grand jury subpoena issued to 7C’s Productions.
   “‘Producing or attempting to produce a false, altered, or counterfeit document
or record during an official investigation’ is a type of action that warrants a two-
level obstruction of justice enhancement.” United States v. Shannahan, 135 F.
App’x 253, 259 (11th Cir. 2005) (quoting U.S.S.G. § 3C1.1, cmt. n.4(c)). The
Guidelines commentary states that when a defendant “is convicted both of an
obstruction offense … and an underlying offense,” the two offenses group, and
the adjusted offense level “will be the offense level for the underlying offense
increased by the 2-level adjustment” for obstruction (unless the obstruction
Guidelines are higher). U.S.S.G. § 3C1.1, cmt. n.8. Notably, the Guidelines “do[]



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not contain any qualifier that the production of a document materially misleads
federal authorities.” Shannahan, 135 F. App’x at 259.
   For Julie, the analysis is cut and dry. She was convicted by a jury of
obstruction of justice for submitting the sham, backdated 7C’s corporate
resolution to the grand jury during its investigation into the Chrisleys’ fraud
schemes. (Gov. Exs. 104, 195, 196, 197, 198).
   Todd was not charged in the superseding indictment with obstruction of
justice, but the United States learned in the middle of trial that he too

participated in sending the bogus corporate resolution to the grand jury. During
opening statements, Julie’s attorney told the jury that he and Todd’s attorney
forwarded the bogus corporate resolution to the grand jury:

      Now, a copy was originally made for Julie by Bill Abbott. As it turned
      out, Julie apparently had left this corporate resolution -- and this is
      where the alleged obstruction comes. -- in the trunk of her car. She
      cooks every meal. Believe it or not, she does. She’s an outstanding
      cook. And she had a helper at the house that day when she came back
      from the grocery store. His name is Chad Bryant. And you will hear
      from him personally. Chad offered to help bring the groceries out of
      the trunk. He goes in, he brings all the groceries. He brings them in
      the kitchen. Brings them all in the kitchen.

      As she’s unloading the groceries, she sees this plastic bag that
      definitely has crumped up papers, like it’s a trash bag. And inside she
      finds the corporate resolution. What does she do? Does she try to hide
      it? No. What she tries to do is do the right thing. She calls our
      investigator, Bill Silinski. And what does Bill tell her? Send it to me
      immediately, which she does. And then both Mr. Morris and I review
      it and really determine that this would be responsive to that same
      grand jury subpoena. So what do we do? We turn it over to the
      Government.


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(Tr. at 418-19).8 Based upon this opening statement, the Chrisleys reached an
agreement with the United States’ assigned filter team and disclosed an email to

the prosecution team showing what actually led to the Chrisleys transmitting
this sham document to the grand jury. (Doc. 212; Gov. Ex. 199).
   On January 9, 2019, Julie scanned and emailed Todd and defense investigator
Bill Salinski a copy of the sham, backdated corporate resolution. (Sent. Ex. 11).9
The next day, January 10, was the day that Faye testified before the grand jury.
(Gov. Ex. 197). That morning, Todd drafted an email to himself outlining the

bogus story of how Julie and his mother went to “add” Faye as a signer on the
Bank of America account:




   8The United States took great care before trial to ensure that the evidence
presented on obstruction would not include the jury learning that Mr. Morris
was the attorney who facilitated the production of the false document. However,
Mr. Friedberg directly injected himself and Mr. Morris into the case during his
opening statement. Despite his opening statement, the United States referred to
Mr. Morris only as the “7C’s Productions’ attorney” during trial.
   9   A redacted version of the email was admitted at trial as Government Exhibit
199.


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(Sent. Ex. 10). On January 11, the day after Faye testified before the grand jury,
Todd forwarded the backdated document to his defense team with this email:




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(Gov. Ex. 199).10 Five months later, the Chrisleys produced the sham and
obstructive corporate resolution to the grand jury through their attorney with the

lie that Julie and Faye had hand delivered the resolution to Bank of America.
(Gov. Exs. 194, 195).
   Todd and Julie knew full well that the document was a fraud and that the
representation they caused their attorneys to make was false. As representatives
from Bank of America confirmed during trial, the bank never received this so-
called amended corporate resolution, and the attorney’s explanation to the grand
jury (which the Chrisleys stipulated came from Julie Chrisley) was patently false.

   10If the United States had known about Government Exhibit 199 (Sent. Ex. 11)
prior to trial, it would have presented a second superseding indictment to the
grand jury that included Todd in the obstruction charge.


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(Tr. at 487-89) (testimony of Bank of America manager Lisa Stone); (Gov. Exs.
100, 103, 104) (internal Bank of America records confirming the statement to the
grand jury was false).
   In fact, on March 6, 2017, Tarantino emailed the Chrisleys that the IRS was
asking for information about bank accounts in their names, prompting Todd to
email Julie, “Get this taken care of asap.” (Gov. Ex. 109). While Julie and Faye
went to Bank of America the next day to move the 7C’s account into Faye’s
name, Todd emailed a production company, “Please refrain from sending any

deposits to the account you have on file as that account has been compromised,
we will be sending you another NEW account number tomorrow or Thursday
morning.” (Gov. Ex. 119). Todd and Julie Chrisley have made a career of

committing fraud together: from bank fraud to wire fraud to tax evasion to
submitting the sham corporate resolution to the grand jury with a lie that the
jury did not believe.

   The Chrisleys’ argument that a two-level enhancement should not apply to
the bank fraud offense because the sham document was related to the tax
offenses is meritless. They submitted a false document in an attempt to obstruct
the grand jury’s investigation into all of their crimes. When they submitted the
false document in June 2019, they knew that the grand jury was investigating
their bank fraud scheme. In the midst of the back-and-forth about the obstructive

document, the Chrisleys’ attorneys had been provided with multiple interview
reports of Mark Braddock in which the bank fraud scheme was described in
great detail. (Sent. Ex. 12). In fact, the United States disclosed two of these


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interview reports on June 4, 2019—two days before Julie Chrisley signed the
business record certification falsely attesting that the fraudulent corporate
resolution was a legitimate 7C’s Productions business record. (Gov. Ex. 194).
When the Chrisleys sent a false document to the grand jury, they knew that the
same grand jury was actively investigating the bank fraud scheme.
   They cannot now split hairs and claim they were “only” trying to obstruct the
tax investigation in a transparent effort to reduce their Guidelines range. Because
Todd Chrisley’s offense level for the bank fraud scheme is more than nine levels

higher than any of the other offenses, his bank fraud Guidelines alone will
control his total offense level. If an obstruction enhancement is not applied to the
bank fraud Guidelines, they would both “receive[] a free pass with respect to

providing false documents to the grand jury.” United States v. Thorson, 633 F.3d
312, 320 (4th Cir. 2011). The Chrisleys submitted a sham document for the
purpose of impeding and hindering an official investigation, and they should be

penalized for their obstruction, as the Guidelines state.

      b. Todd and Julie Chrisley suborned the perjury of Faye Chrisley and
         Donna Cash.
   “By knowingly facilitating the presentation of false testimony before the
court, a defendant does more than just allow a witness to give perjured
testimony; rather, he acts in a manner that obstructs the administration of

justice.” United States v. Bradberry, 466 F.3d 1249, 1255 (11th Cir. 2006).
Accordingly, when a defendant suborns perjury, the obstruction enhancement
applies. Id. “Perjury, for purposes of applying this enhancement, has been



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defined by the United States Supreme Court as ‘false testimony concerning a
material matter with the willful intent to provide false testimony, rather than as a
result of confusion, mistake, or faulty memory.’” United States v. Singh, 291 F.3d
756, 763 (11th Cir. 2002) (quoting United States v. Dunnigan, 507 U.S. 87, 94
(1993)). A person suborns perjury when he “procures another to commit any
perjury.” 18 U.S.C. § 1622; see also § 3C1.1, cmt. n.9 (“the defendant is accountable
for his own conduct and for conduct that he aided or abetted, counseled,
commanded, induced, procured, or willfully caused.”).

   During their cases-in-chief, Todd and Julie Chrisley knowingly called two
witnesses, Faye Chrisley and Donna Cash, to falsely testify about issues material
to their defense strategy. After using Todd Chrisley’s 77-year-old mother to

commit tax evasion, the Chrisleys put her on the stand at trial to lie about key
events. Faye Chrisley falsely testified that Julie asked her to be a “signer” on their
account because they were moving to California to film a show and that when

she and Julie went to Bank of America, Julie told the bank employee that they
wanted to “add me on as a signee, a signatory.” (Tr. 2891-94). Faye also falsely
testified that she and Julie went back to the bank and hand delivered a
“corrected” copy of the business resolution with handwritten changes showing
that Julie owned 7C’s Productions instead of Faye, and that a bank employee
made a copy of the “corrected” business resolution and gave it to them before

they left. (Tr. 2896-98).
   Faye Chrisley’s story was patently false and material. The Chrisleys put Faye
on the stand to tell the same lie they got their attorney to tell the grand jury when


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they produced the sham document. But Bank of America manager Lisa Stone
unequivocally testified that Julie went into the Bank of America branch to
remove her name from the 7C’s bank account and place her mother-in-law on the
account instead. (Tr. at 487-89). Bank of America’s internal records confirmed
that Faye Chrisley thereafter became the sole owner of the 7C’s account. (Gov.
Exs. 100, 103, 104). And, as stated, the crux of the United States’ obstruction case
was the fact that Julie Chrisley submitted that sham, backdated corporate
resolution to the grand jury and had never delivered it to Bank of America. (Gov.

Exs. 195, 196, 197, 198).11
   Equally egregious was the false testimony of former CAM employee Donna
Cash. The Chrisleys put up Cash to falsely “confess” to the entire bank fraud
scheme. Nearly everything that Cash said on the stand was a lie. Most
importantly, Cash falsely testified that she and Braddock were the ones who
committed the massive, six-year-long bank fraud scheme behind Todd and Julie’s
back and for Todd and Julie’s benefit, by doing things such as hacking into the
Chrisleys’ home voicemail system and deleting voicemails from banks. (Tr. at
2494-2506). She even testified that the Chrisleys did not know that Braddock was

filing false BP Oil spill claims—despite the audio recording of Julie Chrisley
calling to ask when she would receive a check from their filed claim. (Tr. 2495;
Gov. Exs. 1205, 1207).




   11Again, the fact that these lies concerned the transaction at Bank of America
(and not the bank fraud scheme) is irrelevant for Guidelines purposes.


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   According to Cash, it wasn’t just the bank fraud that she and/or Braddock
were responsible for; she was apparently also responsible for Todd’s unpaid 2009
taxes, for Julie’s wire fraud, and for three other fabricated and emailed
documents that the United States introduced as Rule 404(b) evidence. Cash
testified that on two occasions, Braddock had her tell Todd that a $250,000
payment was being made on his 2009 taxes and that Braddock fabricated a check
showing that the payment had been made when it hadn’t. (Tr. at 2512-14). Cash
testified that when the Chrisleys were applying to lease a house in California, it

was she—not Julie—who fabricated the two bank statements and credit report
and emailed them to the leasing agent using Julie’s Gmail account without Julie’s
knowledge. (Tr. at 2525-27).12 Cash also testified that she fabricated invoices from
Pineapple House, Ken Knight Interiors, and Delta Airlines without the Chrisleys’
knowledge or consent (but for their financial benefit). (Tr. 2527-31).
   Donna Cash’s testimony was absurd. It was a deliberate effort to mislead the

jury. This was not just a witness who made some contradictory statements while
testifying. Cash directly contradicted the recorded statements she had previously
made to the defense team. On the stand, she admitted to the wire fraud scheme.
But on the audio recordings supplied by the defendants, she said the opposite.
(Sent. Ex. 13).




   12On cross examination, Cash admitted that she did not even know what
Google Drive was, despite that the fabricated credit report was sent via Google
Drive link. (Tr. at 2535).


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   In short, the Chrisleys put Donna Cash on the stand and let her falsely confess
to nearly every crime that they were charged with. On this point, there can be
dispute: the Chrisleys knew that Cash was committing perjury, and they put her
up to do it.
   The Chrisleys’ objections that Faye Chrisley’s and Donna Cash’s testimony
was not false or material is incredulous, as is their claim that they didn’t
“facilitate” the perjury. (T.C. Obj. at 10; J.C. Obj. at ¶ 127). The jury’s guilty
verdict speaks to the falsity of their testimony, and it is difficult to conceive of

testimony more material than a confession to committing a crime that someone
else has been charged with. Additionally, the Chrisleys’ claim that they did not
facilitate the perjury is belied by the facts that they called these witnesses in their

case-in-chief and that there are audio recordings of their investigator talking to
Donna Cash about her testimony. Instead of taking the stand and perjuring
themselves, the Chrisleys’ put up their own mother and former assistant to do it

for them. If this level of suborned perjury does not warrant the obstruction
enhancement, it’s unclear what would.

      c. Todd Chrisley threatened, intimidated, and unlawfully influenced
         his daughter, Lindsie Chrisley.
   The obstruction enhancement is appropriate where the defendant
“threatened, intimidated, or otherwise unlawfully influenced a co-defendant,
witness, or juror, directly or indirectly, or attempted to do so.” United States v.
Boyd, 574 F. App’x 878, 879 (11th Cir. 2014) (quoting U.S.S.G. § 3C1.1, cmt.,
n.4(A)) (alterations adopted). It is not necessary for the defendant to directly



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communicate with the witness who he is attempting to influence or threaten.
United States v. Bradford, 277 F.3d 1311, 1315 (11th Cir. 2002) (holding that because
§ 3C1.1 applies to attempts to obstruct justice, it is not essential that the threat be
communicated to the target).
   This enhancement routinely applies when a defendant directs his obstructive
conduct towards his own family members. For example, in United States v.
Hesser, 800 F.3d 1310, 1331 (11th Cir. 2015), the Eleventh Circuit affirmed the
application of the obstruction enhancement where, in the weeks leading up to

trial, the defendant asked his wife to “‘go over the story line’ of her upcoming
testimony” for the government. When the wife declined, Hesser responded, “If
you don’t want to help, I’ll know whose head to lop off.” Id. A few weeks later,

“Hesser took the couple’s two eldest children into a bedroom and told them that
their mother was betraying him by working with the Government.” Id. The wife
ultimately testified at trial for the government, including about Hesser’s efforts

to intimate and influence her testimony. Id. The district court rejected Hesser’s
argument at sentencing that “the events were merely an intra-family dispute and
tug-of-war for the children.” Id. (quotations omitted).
   Similarly, in United States v. Ward, 722 F. App’x 953, 967 (11th Cir. 2018), the
obstruction enhancement applied where the defendant urged his brother his
invoke his Fifth Amendment right if questioned and offered his brother $2,000

for his cooperation. See also United States v. Amedeo, 370 F.3d 1305, 1319 (11th Cir.
2004) (finding that, at a minimum, the defendant’s urging a potential witness to
lie constituted “unlawfully influencing” a witness under § 3C1.1); United States v.


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Garcia, 13 F.3d 1464, 1471 (11th Cir. 1994) (no error in district court’s finding that
the defendant obstructed justice by asking a witness not to speak to law
enforcement).
   In this case, Todd Chrisley not only tried to “unlawfully influence” his
daughter, Lindsie Chrisley; he succeeded. After reporting to the FBI and U.S.
Probation that her father was harassing, intimidating, and attempting to extort
her, Lindsie took the stand at trial and testified for her father and stepmother.
But on cross examination, she admitted to the events that led to her appearance

in court—crucially, these facts were all documented in the FBI interview report
that had been disclosed to the Chrisleys in discovery. (Sent. Ex. 14) (302 of
Lindsie Chrisley interview). From 2017 to 2019, Lindsie Chrisley was estranged

from her father. Two months before he was indicted, Todd asked Linsdie to meet
him in Chattanooga. Lindsie agreed to meet and drove to Chattanooga, believing
that her father was going to apologize for their estrangement for the past two

years. When she arrived at the restaurant where they met, Todd insisted that
Lindsie leave her cell phone in the car. Once they were inside, Todd told Lindsie
that he was about to be indicted and questioned Lindsie’s involvement in the
investigation. Todd continued to press Lindsie about her involvement, and
Lindsie told him that she was sick of him and Chase Chrisley putting out
threatening tweets directed at her. Todd told Lindsie that she needed to be

careful with Chase because he had a sex tape of Lindsie from an indoor security
camera. Todd insisted the sex tape was real and told Lindsie she needed to “be
careful.” A few weeks later, in July 2019, Lindsie called the FBI National Threat


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Operations Center and reported that her father was attempting to blackmail her
with a supposed sex tape of her because he thought that she the reason he was
under investigation. The FBI case agents subsequently met with Linsdie, where
she reported the information above. She also said that in the days leading up to
that meeting, Todd had told her sister-in-law that Lindsie was “behind all this
stuff” and that Lindsie was a snake, manipulative, and was going to be sued.
   The following month, the grand jury returned an indictment, (Doc. 1), and
Lindsie Chrisley was on the witness list that the United States provided to the

Chrisleys and their pretrial services officer. Thereafter, Lindsie continued
contacting the FBI. (Sent. Ex. 15). In December 2020, she emailed the FBI that she
was “still victim of Todd Chrisley’s harassment.” (Id.). She reported that she was

told that Todd and Chase Chrisley were having her followed. (Id.).
   Lo and behold, at trial, Lindsie took the stand and provided favorable
testimony for her parents. Like the sentencing court in Hesser, this court should

reject the notion that these events “were merely an intra-family dispute.” Hesser,
800 F.3d at 1331. In Hesser, the obstruction enhancement was warranted where
the defendant tried and failed to influence his wife’s testimony. Id. Here, Todd
Chrisley succeeded in manipulating his estranged daughter, bringing her back
into the family fold, and putting her on the stand at trial.




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                                 III.   RESTITUTION

   1. The Court should order the Chrisleys to pay restitution to the victims of
      the bank fraud conspiracy.

   The Mandatory Victim Restitution Act (“MVRA”) requires district courts to
order “that the defendant make restitution to the victim of the offense.” 18 U.S.C.

§ 3663A(a)(1). Under the MVRA, the victim banks or the successive entities were
victims of the Chrisleys’ bank fraud, entitling them to recover their actual loss in
the form of restitution.

   A “victim” under the MVRA is any “person directly and proximately harmed
as a result of the commission of an offense.” § 3663A(a)(2). The phrase “directly
and proximately” is not an overly exacting standard. It requires but-for causation
and only that “‘the causal connection between the conduct and the loss is not too
attenuated (either factually or temporally).’” United States v. Robertson, 493 F.3d
1322, 1334 (11th Cir. 2007) (citation omitted). The defendant’s conduct does not

need to be the “‘sole cause of the loss,’” so long as “‘any subsequent action that
contributes to the loss, such as an intervening cause, [is] directly related to the
defendant’s conduct.’” Id. (quoting United States v. Gamma Tech Indus., Inc., 265

F.3d 917, 928 (9th Cir. 2001)). “‘The causal chain may not extend so far, in terms
of the facts or the time span, as to become unreasonable.’” Id. (quoting Gamma
Tech, 265 F.3d at 928).

   The victim banks or the entities that have subsequently purchased the
fraudulent loans qualify as “victims” under these standards, because the
Chrisleys’ bank fraud proximately caused them to suffer actual losses. As


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detailed above, the Chrisleys engaged in an extensive bank fraud scheme that
caused victims to suffer approximately $20 million in losses. Their fraud was the
but-for cause of the loss: the victims would not have lost any money if the
Chrisleys had not obtained the fraudulent loans. And the fraud “proximately”
caused the loss, insofar as the causal chain between the two was “‘not too
attenuated (either factually or temporally)’” but rather closely connected to the
fraudulent conduct. Robertson, 493 F.3d at 1334 (citation omitted).
   Moreover, the MVRA provides that, “[i]f a victim has received compensation

from insurance or any other source with respect to a loss, the court shall order
that restitution be paid to the person who provided or is obligated to provide the
compensation.” 18 U.S.C. § 3664(j)(1). Under this provision, a subsequent

purchaser who buys the fraudulent loan should be entitled to recover the
amount of money they spent on the fraudulent loan. See generally United States v.
Mancini, 624 F.3d 879, 881-82 (8th Cir. 2010) (compensation from an insurance

provider).
   As for the appropriate amount of restitution, § 3664 requires the district court
to “order restitution to each victim in the full amount of each victim’s losses.” 18
U.S.C. § 3664(f)(1)(A). The “restitution award ‘must be based on the amount of
loss actually caused by the defendant’s conduct.’” United States v. Huff, 609 F.3d
1240, 1247 (11th Cir. 2010) (citation omitted). The goal of restitution is to make

the victim whole. Id. at 1249.
   Here, the victims lost $20,041,817.67, of which $17,270,741.57 should be
ordered in restitution. (Sent. Ex. 3). The Chrisleys are not entitled to an offset loss


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amount under the theory that the victim banks were negligent when they issued
these loans; the law places no such burden on crime victims to mitigate their
damages. See United States v. Hairston, 888 F.2d 1349, 1354 (11th Cir. 1989)
(upholding restitution award despite argument that bank failed to take steps that
could have reduced its loss); United States v. Rice, 38 F.3d 1536, 1542 (9th Cir.
1994) (rejecting argument that restitution should be reduced based on victim’s
conduct and stating that “[a] crime victim is not required to mitigate damages”).
The statutory framework governing restitution “does not include any provision

allowing the court to attribute fault for loss to a victim and reduce the amount of
restitution on that basis.” United States v. Guy, 335 F. App’x 898, 900 (11th Cir.
2009). Negligence on the part of the victim is simply “not a valid basis on which

to reduce the restitution amount.” Id.13 As noted, restitution is measured by the
amount the victim actually lost, not some amount reduced based on the victim’s
negligence or failure to mitigate. Hairston, 888 F.2d at 1354. In sum, even if the
victims were negligent, it would not provide a valid basis for reducing the
restitution owed.
   Similarly, it is irrelevant that the Chrisleys reached a settlement regarding
these fraudulent loans in separate proceedings because nothing in the restitution


   13See also United States v. Holland, 394 F. App’x 766, 768 (2d Cir. 2010)
(unpublished) (victim’s alleged negligence and failure to mitigate were irrelevant
to order of restitution); United States v. Zafar, 291 F. App’x 425, 429 (2d Cir. 2008)
(unpublished) (contributory negligence was not a basis for reducing restitution);
United States v. Rosby, 454 F.3d 670, 677 (7th Cir. 2006) (victims’ carelessness
would not reduce restitution).


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statutes provides that a victim loses its right to criminal restitution when it has
received a civil judgment. Indeed, the existence of a civil judgment does not bar
criminal restitution and “provides no basis for reduction in the restitution
award.” United States v. Bramson, 107 F.3d 868, 1997 WL 76048, at *2 (4th Cir.
1997). The mere existence of a civil judgment does not mean that the victim will
receive anything, and without actual compensation to the victim, there is no
basis for reducing criminal restitution. Id. There is also added utility in having a
criminal restitution judgment because, in comparison to a private litigant,

probation officials may better monitor a defendant’s financial status in working
to collect the restitution. Id. at *2 n.2.
   For purposes of imposing restitution, the Chrisleys are not entitled to an offset

by the value of property forfeited to the government, because both restitution
and forfeiture are mandatory, and the separate nature of these two remedies
precludes using one to offset the other. See United States v. Bane, 720 F.3d 818, 827

n.8 (11th Cir. 2013) (rejecting a defendant’s argument that his restitution order
should have been offset by the amount forfeited to the government). The goal of
restitution is to compensate victims for their losses, while the goal of forfeiture is
to punish the defendant by transferring ill-gotten gains to the government. See
e.g., United States v. Joseph, 743 F.3d 1350 (11th Cir. 2014). Moreover, under the
MVRA, the Court must order full restitution “in addition to ... any other penalty

authorized by law,” as provided in 18 U.S.C. § 3663A(a)(1), and “[i]n no case
shall the fact that a victim has received or is entitled to receive compensation
with respect to a loss from insurance or any other source be considered in


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determining the amount of restitution,” Id. § 3664(f)(1)(B) (emphasis added). The
MVRA permits a reduction in a restitution order only for an “amount later
recovered as compensatory damages for the same loss by the victim in” a federal
or state civil proceeding. Id. § 3664(j)(2). Consequently, the Chrisleys are not
entitled to any credit against restitution for the value of any forfeited property or
forfeiture judgment.
   It is true that victims are not entitled to a double recovery. See United States v.
Louper-Morris, 672 F.3d 539, 566 (8th Cir. 2012). The Chrisleys are thus entitled to

post-judgment credit against their restitution owed for funds actually paid to the
victims, whether pursuant to a civil judgment or the criminal restitution order.
See id. at 566-67; United States v. Scherer, No. 01-1088, 2001 WL 1299278, at *2 (6th

Cir. 2001) (unpublished) (citing 18 U.S.C. § 3664(j)(2)(B)). In this case, based upon
nature of the Chrisleys’ criminal actions and the statutory scheme of the MVRA,
the Court should order Todd and Julie Chrisley to pay restitution to the victims

of the bank fraud conspiracy in the amounts reflected on Agent Ryskoski’s
summary chart. (Sent. Ex. 3).
                       IV.    SECTION 3553(A) ARGUMENT

   1. Todd Chrisley and Julie Chrisley should be sentenced to lengthy
      periods of incarceration.

   The Chrisleys have built an empire based on the lie that their wealth came
from dedication and hard work. The jury’s unanimous verdict sets the record
straight: Todd and Julie Chrisley are career swindlers who have made a living by
jumping from one fraud scheme to another, lying to banks, stiffing vendors, and



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evading taxes at every corner. Their “empire” was built upon the backs of
defrauded community banks that collapsed while Todd Chrisley used the stolen
money to fly to Los Angeles for bi-weekly haircuts. After their fraud scheme
imploded, the Chrisleys managed to shirk responsibility by abusing the
bankruptcy system and writing off over $20 million of the fraudulent loans they
had burned through living a lavish lifestyle. Undeterred, while they were in
bankruptcy, the Chrisleys started a reality television show where they flaunted
their wealth and lifestyle to the American public. As they began making money

from the show, they hid it and refused to pay the federal income taxes that their
viewers pay every year. Even while making millions of dollars, they insisted on
defrauding everyone they encountered in the smallest ways imaginable: the BP

Oil Spill Fund out of money intended to help afflicted homeowners, a California
homeowner out of rent money, even the network that airs their show for an extra
airline ticket. And, believing themselves to be untouchable, Todd and Julie

Chrisley tried to obstruct the grand jury investigating their crimes and put up
their family members and friends to lie for them at trial.
   The sentencing court’s “task is to impose a sentence that will adequately
(1) ‘reflect the seriousness of the offense,’ (2) ‘promote respect for the law,’
(3) ‘provide just punishment,’ (4) ‘afford adequate deterrence,’ (5) ‘protect the
public from further crimes of the defendant,’ and (6) provide the defendant with

any needed training and treatment in the most effective manner. United States v.
Rosales-Bruno, 789 F.3d 1249, 1253-54 (11th Cir. 2015) (citing 18 U.S.C.
§ 3553(a)(2)). “The task is a holistic endeavor that requires the district court to


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consider a variety of factors: (1) the nature and circumstances of the offense,
(2) the defendant's history and characteristics, (3) the kinds of sentences
available, (4) the applicable sentencing guidelines range, (5) pertinent policy
statements of the Sentencing Commission, (5) the need to provide restitution to
any victims, and (6) the need to avoid unwarranted sentencing disparities.”
Rosales-Bruno, 789 F.3d at 1254 (citing 18 U.S.C. § 3553(a)).
   The United States will make a specific sentencing recommendation after the
Court determines the appropriate Guidelines range but summarizes here some of

the most relevant § 3553(a) factors. As set forth below, Todd and Julie Chrisley
are the rarest of white-collar defendants for whom every § 3553(a) factor weighs
in favor of a lengthy prison sentence.

      A. Driven by greed, the Chrisleys engaged in a decade-long fraud spree
         targeting banks, the IRS, the judicial system, and countless third
         parties.

   Most fraud schemes unfold in a familiar manner: A defendant commits one
fraud scheme for a period of time, gets caught, and is prosecuted. The Chrisleys
are unique given the varied and wide-ranging scope of their fraudulent conduct
and the extent to which they engaged in fraud and obstructive behavior for a
prolonged period of time. The United States outlines below the enormity of their
crimes—many of which are not taken into account by their Guidelines ranges.

         1. The Chrisleys’ loan fraud scheme targeted community banks
            throughout the metro-Atlanta area.

   As set forth above, the Chrisleys obtained tens of millions of dollars in
fraudulent loans from community banks located throughout the metro-Atlanta

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area. The bank fraud scheme was enormous in its scope and effectiveness.
Together with Braddock, the Chrisleys duped small banks into giving them tens
of millions of dollars. They treated these bank loans like a shell game, using new
loans to pay back old debt, all while living large. As Todd barked orders to
Braddock, and Julie drove around Atlanta dropping off checks for delinquent
debts, the Chrisleys wore designer clothing, drove luxury cars, and enjoyed
vacation homes in South Carolina (a house on Lake Keowee) and Florida (a
beach house they named “Julie Got Her Way”).

   The Chrisleys obtained or renewed these loans during the heart of the
financial collapse, when Georgia was significantly impacted by banking
failures.14 Between 2008 and 2013, more than one third of the nation’s bank
failures occurred in the Federal Reserve’s Sixth District (encompassing Georgia,
Florida, Alabama, and portions of Louisiana, Mississippi, and Tennessee). A total
of 87 banks failed in the state of Georgia.15 The Government Accountability
Office (“GAO”) found that from 2008 to 2011 alone, a total of 74 Georgia banks




   14Ironically, the legitimate money that the Chrisleys earned from CAM came
from managing foreclosed properties following the Great Recession.

   15See “Lessons Learned from the Bank Failure Epidemic in the Sixth District:
2008–2013” by Michael Johnson, Senior Vice President, Federal Reserve Bank of
Atlanta (available at
https://communitybankingconnections.org/articles/2014/q3-q4/view-from-
the-district (last visited November 14, 2022)).



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failed, dwarfing the number of bank failures in larger states like California and
Florida16:




   To be clear, the Chrisleys are not solely responsible for the banking failures
described above. However, their actions had serious consequences. In its study,

GAO found that

        [t]he failures of the smaller banks (those with less than $1 billion in
        assets) in these states were largely driven by credit losses on
        commercial real estate (CRE) loans. The failed banks also had often
        pursued aggressive growth strategies using nontraditional, riskier
        funding sources and exhibited weak underwriting and credit
        administration practices.17




   16 Government Accountability Office, “Financial Institutions: Causes and
Consequences of Recent Bank Failures,” January 2013,
https://www.gao.gov/assets/gao-13-71.pdf (last visited November 14, 2022).
   17 Government Accountability Office, “Financial Institutions: Causes and

Consequences of Recent Bank Failures,” January 2013,
https://www.gao.gov/assets/gao-13-71.pdf (last visited November 14, 2022).

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That is precisely what occurred here. Small banks during this timeframe acted
recklessly by lending to the likes of the Chrisleys based on inflated PFSs and
sham tax returns. But fraudsters like the Chrisleys targeted those banks, knowing
that they could swindle them out of millions. Scores of economists, bankers, and
government officials have analyzed the causes of the banking collapse that
besieged the country in 2008. To find one reason why community banks had
financial difficulties during this timeframe, one need look no further than the
Chrisleys.

         2. The Chrisleys orchestrated an extensive tax evasion scheme while
            earning millions from their television show and other ventures.

   The bank fraud scheme was only the beginning of the story. When they could
no longer afford to keep their fraud going, the Chrisleys refused to take

responsibility for their actions and used the court system to escape unscathed. In
this case, they severed ties with Braddock, blamed him for the fraud, and used
Todd’s bankruptcy filing to walk away from tens of millions of dollars owed to a

long list of creditors, including the community banks they defrauded. After they
struck gold by getting their reality television show on the air, they refocused
their efforts on hiding their new money from the IRS. As proven at trial, the

Chrisleys earned millions of dollars from their reality television show and other
media ventures from 2013 to 2017, which they hid from the IRS:




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(Gov. Ex. 1202).
   Despite amassing this fortune, they took significant and calculated steps to
evade paying Todd’s 2009 taxes and did not bother filing or paying anything for
the 2013, 2014, 2015, and 2016 tax years. They first funneled money into their
loan-out shell company, 7C’s, in hopes of keeping Todd’s name off any bank

accounts. When the IRS started asking too many questions, they changed tactics
and transferred the shell company to Todd’s mother and opened a new 7C’s
bank account with Todd’s mother as the sole signer. In a coordinated effort, Julie
took Todd’s mother to Bank of America, and Todd notified the production
company to stop depositing their income into the existing account:




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(Gov. Ex. 119). Even after receiving IRS materials like a pamphlet titled “Why Do
I Have To Pay Taxes?”, the Chrisleys refused to comply with the tax laws that
apply to all Americans. (Gov. Ex. 77).
   The Chrisleys may believe their tax evasion was a victimless crime, but the
consequences are felt by all taxpaying Americans. The full amount of money lost
due to tax cheaters, known as the “tax gap,” is impossible to calculate. One
scholar has argued that “[i]ndividual tax evasion costs the government over $250
billion in lost revenue per year, before taking into account revenue lost by

corporate tax shelters or legal tax loopholes.”18 When traditional wage earners
and W-2 employees are paid, their income is automatically reported to the IRS by
the employer. By contrast, the Chrisleys were paid as independent contractors
through their “loan-out company,” which they used to evade detection by the
IRS. If the IRS had known that All3Media was paying Todd Chrisley millions of
dollars for appearing on Chrisley Know Best, the Revenue Officers assigned to
collect the hundreds of thousands of dollars he owed for 2009 could have levied
the 7C’s bank account. Instead, the Chrisleys sheltered Todd’s income and didn’t
report the millions of dollars they were earning as public figures and influencers.

This is, unfortunately, a common problem. One study found that while only one
percent of wage and salary income was not reported in the 2001 tax year, a

   18 Delaney, Kathleen, THE PHYSIC COST OF TAX EVASION, 56 B.C. L. Rev. 617,
617 (2015) (citing Tax Gap for Tax Year 2006, IRS, 2 (Jan. 6, 2012),
http://www.irs.gov/pub/newsroom/overview_tax_gap_2006.pdf, archived at
http://perma.cc/5D2W-DCGV (estimating that individuals underreported $235
billion in income taxes and $57 billion in self-employment taxes in 2006)).



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whopping 57 percent of nonfarm proprietor income—or $68 billion—was not
reported to the IRS that same year.19 While the Chrisleys’ income was funneled
through their shell company as opposed to a sole proprietorship, the effect was
the same—part of the way they were able to evade detection was by abusing the
non-wage income reporting system. A message must be sent to the Chrisleys and
others that tax evasion is a serious offense, and that wealthy tax cheats who use
personal companies to avoid paying taxes will face a substantial prison sentence.
   Finally, Todd and Julie Chrisley’s arrogance merits special consideration.

Most tax cheaters try to keep a low profile while avoiding detection from the IRS.
Not the Chrisleys. In 2013, while Todd was in the midst of bankruptcy
proceedings, the Chrisleys filmed a promotional video for their new reality show

about their extravagant lifestyle. In the video, Todd boasted that he “make[s]
millions of dollars a year,” and in another shot where he is standing in his walk-
in closet in his expansive house, he bragged that “in a year, we probably spend

over $300,000, sometimes more, just on clothing.” (Sent. Ex. 16) (Chrisley Knows
Best promotional video). As Annie Kate Pons testified at trial, no one had
scripted the show or told Todd what to say. (Tr. at 967-68). He was just being
himself. (Id.). Yet when an IRS Revenue Officer sought to collect the taxes he had
owed on his 2009 tax return, Todd curtly told Tarantino “can you check with the

   19 Slemrod, Joel, CHEATING OURSELVES: THE ECONOMICS OF TAX EVASION, 1
Journal of Economic Perspectives 25 (2007), available at
https://pubs.aeaweb.org/doi/pdfplus/10.1257/jep.21.1.25. Nonfarm
proprietors’ income represents the portion of the total income earned from
current production that is accounted for by unincorporated nonfarm businesses
in the United States.

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IRS bitch to make sure she has adjusted the payoff from my 500k number to
reflect the 98k number please?” (Sent. Ex. 17).20 As the show’s success took off,
Todd continued to peddle public lies about his taxes. Knowing that he owed
significant sums of money to the IRS, Todd went onto a national radio program
and boastfully lied, claiming, “Obviously, the federal government likes my tax
returns because I pay 750,000 to 1 million dollars just about every year, so the
federal government doesn’t have a problem with my taxes.” (Gov. Ex. 1123A).
This was, obviously, a lie as he hadn’t bothered to file tax returns in years.

         3. The Chrisleys’ crime spree consisted of much more than what was
            charged in the indictment.

   The charged bank fraud and tax offenses were only two of the frauds
committed by Todd and Julie Chrisley over the years. They have wrongly stiffed

countless people and companies, including three of their own witnesses at trial.
The jury heard evidence about their additional criminal conduct and repeated
efforts to avoid paying even the smallest of bills.
   While getting tens of millions of dollars in fraudulent loans, the Chrisleys also
defrauded the BP Oil Spill Fund by falsely claiming that their Florida vacation
home had lost rental income from the oil spill, despite the fact that “Julie Got Her

Way” had never been a rental property. (Gov. Exs. 1205-07). The jury also heard



   20This email was admitted at trial in redacted format. (Gov. Ex. 579).The
United States tenders the unredacted email for sentencing as it bears on Todd
Chrisley’s view of IRS employees who were trying to get him to pay delinquent
taxes that he had owed for eight years.


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that Todd falsely claimed to be a Florida resident when he lived in Roswell,
Georgia to avoid paying Georgia state income taxes. (Tr. at 1850-51).
   Even after parting ways with Braddock and blaming him for the entire bank
fraud scheme, the Chrisleys continued sending false statements to banks and
mortgage brokers whenever they wanted something:

    In one email to a mortgage broker, Todd deleted the reference to where
     money came from when trying to satisfy an IRS tax lien in an effort to hide
     the source of the funds. (Gov. Exs. 947, 949). In reality, the money had
     come from their minor child’s bank account. To be clear, this was money
     paid for the services of their child that the Chrisleys then siphoned off to
     satisfy their own tax lien (a fact that they hid from the lender).

    Julie falsely told a bank employee that Todd had $4 million in marketable
     securities. (Gov. Ex. 669). As previously stated, this was the same lie they
     and Braddock told banks during their bank fraud conspiracy.

    Todd and Julie sent the same cashier’s checks to two different lenders as
     proof of available cash on hand. (Gov. Exs. 944, 957, 959). Of note, when
     Todd realized his wife had mistakenly included the fact that the checks
     had been deposited in their daughter’s bank account, he immediately
     chastised her:




(Gov. Ex. 958).




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   As the jury heard during trial, the Chrisleys even tried to swindle the
production company that produced their show and NBC through nickel-and-
dime fraud schemes:

    They sent a fabricated invoice to their production company from
     “Pineapple House” requesting reimbursement for $7,200. (Gov. Ex. 931). A
     representative from Pineapple House confirmed this invoice was
     fabricated. (Tr. at 1416-24).

    They sent a fabricated invoice to their production company from “Ken
     Knight Interiors, Inc.” requesting reimbursement for $9,863.97. (Gov. Ex.
     943). Ken Knight testified at trial that this invoice was completely
     fabricated. (Tr. at 2163-71).

    They also falsely claimed that a Delta ticket cost $2,300. (Gov. Ex. 940).
     Agent Ryskoski testified that this too was a lie: They had purchased two
     first class tickets to Los Angeles and wanted their production company to
     foot the bill for both tickets. (Tr. at 2256-61).
The last item bears emphasis. Todd Chrisley tried to scam NBC—the network
that aired his reality television show through USA Network—out of $1,300

because the network told him they would pay for only one airline ticket. Despite
being told this, Todd went on to falsely tell his agent, “we paid 2300 for that
ticket” after he had bought two. (Gov. Ex. 940). The fact that they earned over $1
million that year alone wasn’t enough for these two fraudsters because they
decided to try to bilk the network airing their show out of an additional $1,300.
   Witnesses called by the Chrisleys testified that, despite earning millions as
public figures and celebrities, the Chrisleys routinely stiffed service workers and
professionals who they owed money. For example:




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 Bill Abbott testified on cross examination about a number of contractors
  and subcontractors who had done work on a new house who the Chrisleys
  refused to pay. (Tr. at 2778-90). One contractor desperately emailed, “We
  want to continue this project, but it’s hard to when there’s a lack of
  payment and drawings to implement construction. We have tried multiple
  times to text, e-mail and call with, no return response. Please respond so
  we can continue the advancement of this project.” (Gov. Ex. 1504). An
  architecture firm similarly emailed, “When we can expect payment of
  $30,413 so we can expedite your concerns?” (Gov. Ex. 1505).

 In January 2016, a web developer emailed Todd about a $28,000 balance
  owed from months beforehand for completed services that the Chrisleys
  refused to pay. (Gov. Ex. 1503). The vendor sent Todd several emails that
  he ignored. (Id.).

 The Chrisleys’ own attorney, Robert Furr, testified that at one point the
  Chrisleys owed him $200,000. (Tr. at 3068-69). Of course, they paid their
  overdue bills before he testified for them at trial. (Id.).

 The Chrisleys’ other attorney, Leron Rogers, who helped set up 7C’s
  Productions, testified that he stopped working for the Chrisleys because
  they refused to pay their bills. (Tr. at 2658-60). Ultimately, his law firm had
  to sue the Chrisleys to get paid the $50,000 for his legal services. (Id.).

 At one point, the Chrisleys hired a professional appraiser to inventory and
  value a warehouse full of furniture. When the appraiser asked Tarantino
  for payment for her completed work, Todd instructed Tarantino not to pay
  her, telling him:




   (Sent. Ex. 18).




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    Even Annie Kate Pons, who introduced the Chrisleys to the producer who
     created Chrisley Knows Best, was stiffed $10,000. (Tr. at 961-62). Every time
     she asked Todd about the money she was owed, he would lie, claiming
     that “the check is in the mail” or “I’m getting someone to process it.” (Id.).
     The Chrisleys’ one-time close friend who made them famous never got her
     check. (Id.).

   The Chrisleys didn’t just stiff vendors and employees; they also freeloaded
benefits that they weren’t entitled to. For example, Todd Chrisley applied for a
mortgage hardship application for their South Carolina lake house the same year
that he and his wife earned over $1.3 million from entertainment ventures. (Gov.
Ex. 419). These mortgage hardship applications were designed to protect the
types of homeowners whose homes were foreclosed on years earlier and
managed by companies like CAM, not wealthy celebrities who didn’t want to

pay their bills. In all, the charged criminal conduct that the Chrisleys were
convicted of is just one part of this lengthy fraud story.

         4. The Chrisleys’ criminal conduct was driven by greed, not
            necessity.

   Unlike many white-collar criminals, the Chrisleys did not need a dime from
their fraud and tax evasion schemes. They were already wealthy. At its peak, the
Chrisleys earned at least $600,000 a month through CAM, (Tr. at 1502), and they

later began earning millions from their reality show. No necessity or hardship
existed that justifies or explains the money they stole from banks or the income
they hid from the IRS. Neither can credibly say that they had to commit fraud to

put bread on their family’s table.




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   As Braddock testified, Todd Chrisley’s spending habits required him to spend
half a million dollars a month just to stay afloat. (Tr. at 1492). And while the
fraud scheme continued, Todd and Julie spent a mindboggling amount of
money. Both Braddock and Alina Clerie testified that Todd used CAM like his
personal piggybank, even when it meant bills and CAM employees could not be
paid. At one point, when Todd demanded that Clerie give him more money even
though she reported CAM didn’t have sufficient funds, he screamed at her, “You
will give me that fucking money you stupid fucking Russian bitch.” (Tr. at 1937-

38). Todd Chrisley was the same in emails. When Clerie desperately reported
that CAM didn’t have enough money to pay agents, Todd made clear to
Braddock that his bills were to take priority, even if it meant CAM’s agents

would go unpaid:




(Gov. Ex. 1112). The financial records further confirm that the Chrisleys drained
CAM while the company struggled to pay bills. From June through December
2010, the Chrisleys transferred more than $800,000 from CAM into a Chrisley
and Company bank account, much of which they used for their own personal

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benefit. (Gov. Exs. 1003, 1004, Doc. 130 ¶ 48). Meanwhile, Todd failed to pay any
of the $701,249 he initially reported as due and owing when he filed his 2009 tax
return in October 2010.
   The Chrisleys’ lavish spending did not change after CAM folded and Todd
filed for bankruptcy in 2012. Annie Kate Pons testified about the Chrisleys’
lifestyle while they were hiding money from the IRS: Todd stated on the show’s
promotional video that they spent $300,000 a year on clothing, and Ms. Pons
confirmed that Todd wore designer clothing and bragged about purchasing his

children a Range Rover and having wallpaper flown in from France. (Tr. at 968-
70). In June 2017 alone, entertainment and production companies wired over
$300,000 into the 7C’s Productions bank account. (Gov. Ex. 104(b); Doc. 130 ¶ 49).

That same month, the Chrisleys spent $7,000 at an electronics store, $2,000 at a
luxury retail store, and thousands of dollars at department and clothing stores.
(Gov. Ex. 104(b)). At that point, the Chrisleys had not yet bothered to file their

2013, 2014, 2015, or 2016 tax returns, and even had Tarantino tell the IRS that
Todd couldn’t afford to pay his long overdue 2009 tax liability.
   The Chrisleys’ greed was astounding. They were paid $600,000 a month for
running CAM, while the average monthly income in the state of Georgia in 2009
was $47,600.21 But $600,000 a month wasn’t enough, so they orchestrated a multi-
million-dollar bank fraud scheme targeting community banks. In 2017, they


   21 See National Center for Education Statistics, Median household income, by
state: Selected years, 1990 through 2009, available at
https://nces.ed.gov/programs/digest/d10/tables/dt10_025.asp.


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earned more than $2.9 million, while the median household income for the state
of Tennessee where they lived was $54,833.22 Instead of filing and paying income
taxes like other Americans, they hid the money in their shell corporation and
transferred assets and accounts to Todd’s mother when the IRS was on their
heels.

         5. The Chrisleys’ criminal conduct continued through the grand
            jury’s investigation and trial.

   Todd and Julie Chrisley’s crime spree culminated in their attempts to obstruct
the grand jury’s investigation and putting up witnesses to lie for them at trial,

including Todd’s mother and his oldest daughter from his first marriage. Lindsie
falsely testified that Braddock used her father’s AOL account (Tr. at 2346-47), and
both she and Faye falsely testified that Julie had merely hoped to add Faye as a

“signer” to the 7C’s bank account. (Tr. at 2359-60). Tragically, the Chrisleys chose
to pull their family members into their criminal conduct, from helping them hide
money from the IRS to taking the stand and lying at trial. While the defendants
should receive the two-level obstruction enhancement, the ultimate sentence
imposed by the Court should take into account the manner in which the
Chrisleys repeatedly obstructed the investigation and prosecution of this case.




   22See United States Census Data on Tennessee, available at
https://www.census.gov/quickfacts/TN (last visited November 14, 2022).


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      B. Every § 3553(a) factor calls for a lengthy term of incarceration for
         Todd and Julie Chrisley.

   This sentencing will be the first time that Todd and Julie Chrisley are held
accountable for their fifteen-year fraud spree. Every factor that Congress has
enumerated under § 3553(a) calls for both defendants to be sentenced to lengthy
periods of incarceration.
   The Eleventh Circuit has repeatedly emphasized the need for white collar
sentences to reflect the seriousness of the crime, promote respect for the law, and

provide just punishment. See United States v. Martin, 1227, 1240 (11th Cir. 2006).
The prison sentences in this case must take into account the seriousness of the
Chrisleys’ crimes without affording a so-called white-collar “discount.” The

Eleventh Circuit has explicitly instructed sentencing judges not to give what it
called a “sentencing discount” because of a white-collar professional’s economic
or social status. See United States v. Kuhlman, 711 F.3d 1321 (11th Cir. 2013) As the

Eleventh Circuit instructed in Kuhlman, “we encourage our district court
colleagues to keep in mind that
      [b]usiness criminals are not to be treated more leniently than
      members of the ‘criminal class’ just by virtue of being regularly
      employed or otherwise productively engaged in lawful economic
      activity. It is natural for judges, drawn as they (as we) are from the
      middle or upper-middle class, to sympathize with criminals drawn
      from the same class. But in this instance we must fight our nature.
      Criminals who have the education and training that enables people to make
      a decent living without resorting to crime are more rather than less culpable
      than their desperately poor and deprived brethren in crime.
711 F.3d 1321 (11th Cir. 2013) (citing United States v. Stefonek, 179 F.3d 1030, 1038

(7th Cir. 1999) (internal citation omitted) (emphasis added); see also United States


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v. Ruff, 535 F.3d 999, 1007 (9th Cir. 2008) (Gould, J., dissenting) (“[D]istrict courts
sentencing white collar criminals can more often identify with the criminal . . . .
but, socioeconomic comfort with a criminal convict is not a sufficient reason to
show such extreme leniency . . . .”).23
   The seriousness of the Chrisleys’ crimes cannot be understated. After they

defrauded community banks out of tens of millions of dollars, they hid millions
of dollars from the IRS, all while going on television to boast about how much
they spend on designer clothes. And when they learned that they were under
investigation for those crimes, they involved their own family members and
friends to obstruct justice. The seriousness of their actions is further underscored
by the fact that neither defendant has expressed remorse for their crimes, instead
continuing to blame others for their own criminal conduct. Given the seriousness
of the Chrisleys’ crimes, a lengthy period of incarceration is warranted. Cf.
Kuhlman, 711 F.3d 1321 (“He stole nearly $3 million and ‘did not receive so much

as a slap on the wrist—it was more like a soft pat.’”) (citing United States v. Crisp,
454 F.3d 1285, 1291 (11th Cir. 2006)).
   As a final matter, general deterrence must be a key consideration here.
“Because economic and fraud-based crimes are ‘more rational, cool, and



   23 And as the Eleventh Circuit has held, the Chrisleys’ lack of criminal history
is already taken into account in their Criminal History Category. See Martin, 455
F.3d at 1239 (“While the district court emphasized Martin’s lack of a criminal
record and viewed his fraudulent conduct as an ‘aberration’ in his otherwise
outstanding life, Martin’s criminal history category of I already takes into
account his lack of a criminal record.”).


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calculated than sudden crimes of passion or opportunity,’ these crimes are
‘prime candidate[s] for general deterrence.’” Martin, 455 F.3d at 1240 (citing
Stephanos Bibas, White-Collar Plea Bargaining and Sentencing After Booker, 47
Wm. & Mary L. Rev. 721, 724 (2005)); see also United States v. Gorodetsky, 288
F.R.D. 248, 249 (E.D.N.Y. 2013). (“Most income tax evasion is undiscovered. To
be effective as general deterrence, punishments should lead entrepreneurs
considering tax evasion to calculate that they will be punished by incarceration
and suffer substantial financial penalties if their cheating is discovered.”).

“Defendants in white collar crimes often calculate the financial gain and risk of
loss, and white collar crime therefore can be affected and reduced with serious
punishment.” Martin, 455 F.3d at 1240. “As the legislative history of the adoption

of § 3553 demonstrates, Congress viewed deterrence as ‘particularly important in
the area of white collar crime.’” Id. (citing S. Rep. No. 98-225, at 76 (1983),
reprinted in 1984 U.S.C.C.A.N. 3182, 3259). “Congress was especially concerned

that prior to the Sentencing Guidelines, ‘[m]ajor white collar criminals often
[were] sentenced to small fines and little or no imprisonment. Unfortunately, this
creates the impression that certain offenses are punishable only by a small fine
that can be written off as a cost of doing business.’” Id. (citing S. Rep. No. 98-225,
at 76 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259).




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                             V. CONCLUSION
   The jury in this case rendered a true and just verdict: the Chrisleys’ fame and
fortune do not put them above the law. For the reasons stated in this
Memorandum, the United States respectfully requests that the Court find that
the above-listed Guidelines enhancements apply and that the Court consider
these arguments and evidence when imposing a fair and reasonable sentence
under 18 U.S.C. § 3553(a).



                                         Respectfully submitted,

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of record.


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November 14, 2022


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